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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

lN RE: Case No. 6:lO-bk-l951 l-KSJ
SUSAN DAWN HARRISON,

Debtor.
/

NOTICE OF PRELIMINARY HEARING

NOTICE IS HEREBY GIVEN that a preliminary hearing in this case will be held on
September 18, 2018 at 11:00 A.M. in Courtroom 6A, 6th Floor, George C. Young Courthouse,
400 West Washington Street, Orlando, FL 32801 to consider and act upon the following and
transact such other business that may come before the Court:

Objection to Claim No. 9 of F ederal Natiomll Mortgage Association
(Fannie Mae) (Doc. No. 77) and Objection to Claim N0. 9-2 of
F ederal National Mortgage Association (F annie Mae) (Doc. No. 78)

The hearing may be continued upon announcement made in open Court without further
notice.

Appropriate Attire. You are reminded that Local Rule 5072-1 (b)(l 6) requires that all
persons appearing in Court should dress in business attire consistent with their financial abilities.
Shorts, sandals, shirts without collars, including tee shirts and tank tops, are not acceptable.

Avoid delays at Courthouse security checkpoints. You are reminded that Local Rule
5073-1 restricts the entry of cellular telephones and, except in Orlando, computers into the
Courthouse absent a specific order of authorization issued beforehand by the presiding Judge.
Due to heightened security procedures, persons must present photo identification to enter the
Courthouse.

Dated: July 19, 2018

  
      
 

 
 

q t `» L. wlLDMAN, ESQUIRE
Florida Bar No. 207349

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Melbourne, FL 32902

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Preliminary
Hearing was furnished this 19th day of July, 2018, by Electronic delivery, to:

Marie Henkel, Trustee
Office of the United States Trustee

and by United States Mail, postage prepaid, to:
Joshua M. Liszt, Esquire, 1095 NW Broken Sound Parkway, #100, Boca Raton, FL 33487

F ederal National Mortgage Association (F annie Mae), 5600 Granite Parkway, Plano, TX
75024 ATTN: Kent B. Pearson

F ederal National Mortgage Association (F annie Mae), Active Data Technologies, 1095 Broken
South Parkway, Suite 100, Boca Rat E. 487 ATTN: Bradford Geisen, CEO

 
 
   

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DAVID I'IZ MAN, ESQUIRE

